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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                         JACKSONVILLE DIVISION


STEPHEN KNUTH,

        Plaintiff,

v.                                                      Case No. 3:16-cv-719-J-32JRK

CITIBANK N.A.,

        Defendant.


                                      ORDER

        Upon review of the Joint Stipulation of Dismissal With Prejudice (Doc. 13),

filed on September 28, 2016, this case is dismissed with prejudice. Each party shall

bear its own attorneys’ fees and costs. The Clerk should close the file.

        DONE AND ORDERED in Jacksonville, Florida this 29th day of September,

2016.




sj
Copies:

Counsel of record
